                Case 22-50249                        Doc 1              Filed 06/14/22 Entered 06/14/22 11:41:32                                  Desc Main
                                                                          Document     Page 1 of 11
                                                                                                                                            FILED HARRISONBURG, VA
                                                                                                                                            U.S. BANKRUPTCY COURT

  United              es Bankruptcy Court for the:
                                                                                                                                                    JUN I     4    2022
                      _Disrrict of_____1t_
                                    u rtt Ìn l4-
  Case num tel (t known):                                                    Chapter you are filing under:
                                                                                                                                       By             e)                 /r.=o-+t,-<
                                                                             E    chapterT
                                                                                                                                                     Deputy Cterk
                                                                             O    Chapter 11
                                                                             E    Chapter 12
                                                                             fr   Chaptertt                                                   E   Check if this is an
                                                                                                                                                  amended flling


Official Form 101
Volu tary Petition for lndividuals Fili ng for Bankruptcy                                                                                                               02t20
The ba           forms use you and Debtor 1 lo refer to a debtor f¡ling alone. A married couple may file a bankruptcy case together-called
                                                                                                                                               a
joint          d in joint cases, these forms use you to ask for information from both debtors, For exam ple, if a form asks,
                                                                                                                              "Do you own a car,"
 the answer    uld be yes if either'debtor owns a car, When information is needed about the spouses separately, the form uses Deþfor
                                                                                                                                          I and
 Debtor 2to istinguish between them. ln joint cases, one of the spouses must rêport information as Debúor I and the
                                                                                                                          other as Debtor 2. The
same         must be Debtor 1 in all of the forms.
 Be as com       and accurate as possible. lf two married people are filing together, both are equal ly responsible for supplying correct
 informatio tf more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your
                                                                                                                             name and case number
 (if known).         every quest¡on.

u|EIr]E                          Yourself
                                                iAbout Debtor 1:
                                                                                                               About Debtor 2 (Spouse                 in a Jo¡nt
t.   Your fu name
     Write the name that is on your
     governm     -issued picture
                                                                                             \*vt
     identifica             (for example,       Fi                                                             F¡rst name
     your driv r's license or
     passport                                   M        name                                                  lvl¡ddle name
     Bring yor         picture
     identifìca             to Your   meeting   Last name                                                      Last name
     with the     1




                                                Suffìx (Sr., Jr., ll, lll)                                     Suffix (Sr., Jr.,.ll, lll)




z. All othe            names you
                                                                         rrl
     have us             in the last 8                name                                                     First name
     years
     lnclude    !           married or          [4rddle name                                                   Middle name
     ma¡den     r

                                                Last name                                                      Lasl name


                                                First name                                                     F¡rst name


                                                lVìiddle name                                                  Middle name

                                                Lasl name                                                      Last name




3.   Only thr last 4 digits of
     your So ial Security
     numbel or federal
                                                XXX

                                                OR
                                                         -xx- t, 1                        3l                   XXX

                                                                                                               OR
                                                                                                                        - XX-
     lnd¡vidr I Taxpayer
     ldentific   n number                       9xx      -    xx    -_                                         9xx      -    xx    -_        _
     (tTtN)

Official Form         101                                     Voluntary Petitlon for lndiv¡duals Filing for Bankruptcy                                     page    1
            Case 22-50249             Doc 1             Filed 06/14/22 Entered 06/14/22 11:41:32                                  Desc Main
                                                          Document     Page 2 of 11


Debto|I
                   Neñe
                               rc                                                            Case number     1rr




                                                                                                  About Debtor 2 (Spouse Only in a Joint Case):

4. Any business names
     and Employer                        ,   n^r"not   used any business names or EtNs.           E      I have not used any business names or ElNs.
     ldentification Numbers    /
     (ElN) you have used in
     the last 8 years              Business name                                                  Business name
     lnclude trade names and
     doing business as names
                               Business name                                                      Bus¡ness name




                               EIN                                                                EIN



                               EIN                                                                EIN




s.   Where you l¡ve                                                                               lf Debtor 2 lives at a different address


                                              SLt           \À)
                                                   Street                                         Number
                                                                        lÌ *L
                                     m                                                                             Street




                                                                           tl* Wrrù
                                                                          State   ZIP            C¡ty                                     State      ZIP Code

                                             \^J   q,r.o^
                               County                                                            County

                               lf your mailing address is different from the one                 lf Debtor 2's mailing address is different from
                               above, fill it ¡n here. Note that the court will send             yours, fill it in here. Note that the court will send
                               any notices to you at this mailing address.                       any notices to this mailing address.



                               Number              Street                                        Number            Street



                               P.O. Box                                                          P.O. Box


                               City                                       State   ZIP Code       City                                     State      ZIP Code




o. Why you are choosing        Check one:                                                        Check one:
   this districtto file for
     bankruptcy                D      Over the last 180 days before filing this petition,        E      Over the last 180 days before filing this petition
                                      I have lived in th¡s distr¡ ct longer than in any                 I have lived ¡n th¡s d¡strict longer than in any
                                      other district.                                                   other district.
                               Cl      nuu" another reason. Explain.                             E      I have another reason. Explain.
                               /      (See 28 U.S.C s 1408.)                                            (See 28 U.S.C. S 1408.)
                                                                  .Io




 Official Form   101                            Voluntary Pet¡tion for lndividuals Filing for Bankruptcy                                    page 2
              Case 22-50249                Doc 1            Filed 06/14/22 Entered 06/14/22 11:41:32                                       Desc Main
                                                              Document     Page 3 of 11


 Debtor I
                       Name     Nâme
                                                       Cøt"..                                     Case number    ¡tøownl_


 EEIÍ';F      Tell the Gourt About your Bankruptcy Gase


      The chapter of the               Check one. (For a brief description of each, see Notice Required by 11 U.S.C.
                                                                                                                     S 342(b)          for lndividuats Fiting
      Bankruptcy Code you              for Bankruptcy (Form 2010)). Atso, go to the top of page 1 åno cnett tn"
      are choosing to file                                                                                             "pfroÌprì"tu'oor.
      under                            E Chapter 7
                                       E Chaptelt1
                                       E Chapter 12
                                       y'Ç,napter tz

L How you will pay the fee             E   Iwitt pay the entire fee when I file my petition. Please check with the clerk,s office in your
                                           local court for more details about how you may pay. Typically, if you are paying the fee
                                           yourself, you may pay with cash, cashier's check, or money order. lf your attorney
                                                                                                                                is
                                           submitting your payment on your behalf, your attorney may pay with ä credit card or check
                                           with a pre-printed address.
                                       J
                                           l-nee_d to pay the fee in installments. lf you choose ihis option, sign and
                                       f                                                                                 attach the
                                           Application for lndividuals to Pay The Filing Fee in Instaltments (Offìcial Form i03A).

                                       E   I request that my fee be waived (You may request this option only if you are filing for
                                                                                                                                        Chapter 7.
                                           By law, a judge may, but is not required to, waive your fee, and may do so only if your
                                                                                                                                       incoÀe is
                                           less than 150% of the official poverty line that applies to your family size and you
                                                                                                                                 are unable to
                                           pay the fee in installments). lf you choose this option, you must fill
                                                                                                                  out the Application to Have the
                                           chapter 7 Filing Fee waived (official Form i 03B) and fìle it with your petition.


g.    Have you filed for
      bankruptcy within the            l*"
      last 8 years?                    D   yes   District                                 When                       Case number
                                                                                                 MM/ DD/YYYY
                                                 District                                 When                       Case number
                                                                                                 I!1M/ DD/YYYY
                                                 D¡stricl                                 When                       Case number
                                                                                                 MM   /   DD /YYYY



to. Are any bankruptcy
    cases pending or being.        /f,l,ruo
    filed by a spouse who is           E Yes.    D"bto,                                                              Relationsh¡p to you
    not filing this case with
    you, or by a business                        Distr¡c1                                 When                       Case number, if   known_
      partner, or by an                                                                          MM/DD /YYYY
      affiliate?
                                                 Debtor

                                                 District                                 When                       Case number, if known
                                                                                                 MM/DD/YYYY


tt.   Do you rent your
      residence?                   g No.
                                     Yes.
                                                 Go to line 12.
                                                 Has your landlord obtained an eviction judgment against you?              )!vrt"           qw\<^,é)
                                                                                                                                                -
                                                                                                                   [+ù*s "rc
        l,",lf   \X       w                      Q No. co to line 12.
                                                                                                              ^1r
                                                 D Yes.Fill out/nrTralSfatementAboutanEv¡ctionJudgmentAgainsf you(Form101A)andfìleitas
                                                      part of this bankruptcy pet¡tion.




 Official Form   101                             Voluntary Petition for lndividuals Filing for Bankruptcy
                                                                                                                                                  page 3
               Case 22-50249                    Doc 1           Filed 06/14/22 Entered 06/14/22 11:41:32                                           Desc Main
                                                                  Document     Page 4 of 11


Debtor I
                                        ku.Iþ                                                            Case number    lirtnown)_


EEtrFF         Report About Any Bus¡nesses you Own as a Sole propr¡etor

12.   Are you a sole proprietor           ly'   No. Go to Part 4.
      of any full- or part-t¡me          f
      business?                           E     Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
      individual, and is not a                         Name of business, if any
      separate legal ent¡ty such as
      a corporation, partnership, or
      LLC.                                             Number      Street
      lf you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                        City                                                    State         ZIP Code


                                                       Check the appropriate box to desuìbe your business:

                                                       El   Healtn Care Business (as defined in 1 1 U.S.C. S 101(Z7A))

                                                     E Singte Asset Real Estate (as defìned in I 1 U.S.C. S 101(S1 B))
                                                     E Stockbroker (as defìned in I 1 U.S.C. S 101 (S3A))
                                                     O Commodity Broker (as defìned in 11 U.S.C. S 101(6))
                                                     E None ofthe above

13.   Are you filing under               lf you are fil¡ng under Chapter 11, the couñ must know whether you are a small business debtor so that ¡t
      Chapter 11 of the                  can set appropriate deadlines. lfyou indjcate that you are a small business debtor, you must attach your
      Bankruptcy Code and                most recent balance sheet, statement of operations, cash-flow statement, and fedeial income tax reiurn or if
      are you a sma/, öusrness           any of these documents do not exist, follow the procedure in 11 U.S.C. 1116(1XB).
                                                                                                                 $
      debtol?
      For a definition of smail
                                         /lr' No. I am not fìl¡ng under Chapter 11.
      óuslness deótor, see
                                         E No        l am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. S 101(51D).                          the Bankruptcy Code.
                                         E      Yes' I am fìling under Chapter 11, I am a small business debtor according to the defìnition in the Bankruptcy
                                                     Code, and I do not choose to proceed under Subchapter V of Chapter          1   1.
                                         fl     Yes. I am fìling under Chapter 11, I am a small business debtor according to the definition in the
                                                     Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter               1   1.
.}|tíza       Report if You own or Havê Any Hazardous Property or Any Property That Needs lmmediate Attention


14. Do    you own or have any                   No
      property that poses or is          É"
      alleged to pose a threat                  Yes.   What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
      immediate attention?                              lf immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or Iivestock
      that must be fed, or a building
      that needs urgent repairs?

                                                       Where is the property?
                                                                                  Number        Street




                                                                                  City                                               stare          zlP code

 Official Form    101                                  Voluntary Pet¡tion for lndividuals Filing for Bankruptcy                                            page 4
             Case 22-50249               Doc 1            Filed 06/14/22 Entered 06/14/22 11:41:32                                           Desc Main
                                                            Document     Page 5 of 11


Debtor   1                       h^,ilk                       x/Y\                                       Case number



-rt?Gr       Explain Your Efforts to Rece¡ve a Br¡ef¡ng About Cred¡t Counsel¡ng

rs. Teil the court whether About Debtor                 l:
    you have received a
   briefing about credit             You must check one:                                                      You must check one:
   counseling.
                                     E       I received a briefing from an approved credit                    E       I received a briefing from an approved credit
                                             counseling agency w¡thin the 180 days before            I                counseling agency within the lg0 days before
   The law requires that you                 filed this bankruptcy petition, and I received a
                                                                                                                                                                            I

   receive a briefing about credit                                                                                    filed this bankruptcy petition, and I received a
                                             certificate of completion.                                               certificate of completion.
   counseling before you file for
   bankruptcy. You must                      Attach a copy of the certificate and the payment                         Altach a copy of the certifìcate and the payment
   truthfully check one of the               plan, if any, that you developed with the agency.                        plan, if any, that you developed with the agency.
   following choices. lf you
   cannot do so, you are nol         D       I received a brief¡ng from an approved credit                    E   I received a briefing from an approved credit
   eligible to file.                     counseling agency within the lB0 days before I                           counse¡ing agency within the 180 days before I
                                         filed this bankruptcy petition, but I do not have a                      f¡led this bankruptcy petition, but I do not have a
                                         certíficate of completion,                                                   certificate of complet¡on.
   lf you fìle anyvvay, the court
   can dismiss your case, you            Within 14 days after you fìte this bankruptcy petition,                  Within 14 days after you file this bankruptcy petit¡on,
   will lose lvhatever filing fee        you MUST file a copy of the certificate and payment                      you MUST file a copy of the certificate and payment
   you pa¡d, and your creditors          plan, if any.                                                            plan, if any.
   can begin collection activities
                                                                                                              E
   again.
                                     7 certify tothat
                                         I
                                         serv¡ces
                                         unable
                                                  from
                                                              for credit counseling
                                                          I asked
                                                            approved agency, butwas
                                                             an
                                                    obtain those
                                                                                                                  I certify that I asked for credit counseling
                                                                                                                  serv¡ces from an approved agency, butwas
                                                                services dur¡ng the 7                             unable to obtain those services dur¡ng the 7
                                         days after I made my request, and exigent                                days after I made my request, and exigent
                                         circumstances merit a 30-day temporary waiver                            circumstances merit a 3o-day temporary waiver
                                         of the requirement.                                                      of the requirement.
                                         To ask for a 30-day temporary waiver of the                              To ask for a 30-day temporary waiver of the
                                         requirement, attach a separate sheet explaining                          requirement, altach a separate sheet explaining
                                         what efforts you made to obtain the briefing, why                        what efforts you made to obtain the briefìng, wñy
                                         you were unable to obtain it before you fìled for                        you were unable to obtain it before you fìled for
                                         bankruptcy, and what exigent circumstances                               bankruptcy, and what exigent circumstances
                                         required you to fìle this case.                                          required you to fìle this case.
                                         Your case may be dismissed if the court is                               Your case may be dismissed if the couri is
                                         dissatisfied with your reasons for not receiving a                       dissatisfìed with your reasons for not receiv¡ng a
                                         briefìng before you filed for bankruptcy.                                briefing before you filed for bankruptcy.
                                         lf the court is satisfied with your reasons, you must                    lf the court is satisfied with your reasons, you must
                                         still receive a briefìng within 30 days after you file.                  still receive a briefing within 30 days after you fìle.
                                         You must fìle a certificate from the approved                            You must file a certificate from the approvèd
                                         agency, along with a copy of the payment plan you                        agency, along with a copy ofthe payment plan you
                                         developed, if any. lf you do not do so, your case                        developed, if any. lf you do not do so, your case
                                         may be dismissed.                                                        may be dismissed.
                                         Any extension of the 30-day deadline is granted                          Any extension of the 30-day deadline is granted
                                         only for cause and is limited lo a maximum of 15                         only for cause and ¡s limited to a maximum of 15
                                         days.                                                                    days.
                                     D   tam not required to receive a briefing about                         E   Iam not required to receive a briefing about
                                         credit counseling because of:                                            credit counseling because of:
                                         E      lncapacity.   I have a mental illness or a mental                 E      lncapacity.   I have a mental illness or a mental
                                                              deficiency that makes me                                                 deficiency that makes me
                                                              incapable of realizing or making                                         incapable of realizing or making
                                                              rational decisions about fìnances.                                       rational decisions about finances.
                                         Q Disabil¡ty,        My physicat disabitity causes me                    E Disabillty.        My physical disability causes me
                                                              to be unable to participate.in a                                         to be unable to participate in a
                                                              briefing in person, by phone, or                                         briefìng in person, by phone, or
                                                              through the internet, even after   I
                                                                                                                                       through the internet, even after I
                                                              reasonably tried to do so.                                               reasonably tried to do so.
                                         D     Act¡ve duty. I am cunenily on active military                      Q     Act¡ve duty. I am currenfly on active military
                                                              duty in a military combat zone.                                          duty in a military combat zone.
                                         lf you believe you are not required to receive a                         lf you believe you are not required to receive a
                                         briefìng about credit counsefing, you must fìle a                        br¡efing about credit counseling, you must fìle a
                                         motion for waiver of credit counseling with the court.                   motion for waiver of credit counseling with the court.




Official Form   101                               Voluntary Petit¡on for lndividuals Filing for Bankruptcy                                             page 5
                                                        ,r^ùl.vupr,       &    "^^rrp
                                                tð \t J\nor¡                      '(-q
    911¡9 \*q'       - -,.o^t9 q 3 Y'l'\ ?\1 ¡z    q.--S*', YroP
gSnTb ¡"\^ùPO aV -¿n'una f       "p nr^ J 'Vq                 çtp
 l-.æfÌ -.^2å
              ,¡øf{r'J -rdflD ¡rt qqútrñ 2}Í\ frfr*at¡
                          -¡fry J vrr<t1T     <vT
 p    ¡$na,'l t"   1æ-tpm.¡n co                    \ L"o ar,rzl \0rrr
                       ztt'\ *',. *g -uc\n (w nl Tägþ f
     Ytr{r'\ y\^,J", o
              ' ¡9¡-ro¡          Å1                           \1   lnt {q
 .rqrùlara s.r tup fylp1v9rryr"r
                     Document      '-n-O î¡nrf
                                  Page 6 of 11
      Desc Main
                        ânF f$
                                     5
                   Filed 06/14/22 Entered 06/14/22 11:41:32   -    $1
                                                               Doc 1
                                                                        vr\ø (h lqt *a{
                                                                         Case 22-50249
             Case 22-50249             Doc 1              Filed 06/14/22 Entered 06/14/22 11:41:32                                 Desc Main
                                                            Document     Page 7 of 11


Debtor   1
                                I*rtt, C,a      Last
                                                                                             Case number 1irø   own)




Etrtr!       Answer these Questions for Reporting purposes

le. What kind of debts do        16a.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. 101(8)
                                                                                                                                S
                                        as "incurred by an ¡ndividual primarily for a personal, family, or household purpose.',
    you have?
                                        E ruo. co to tine 16b.
                                        fr Ves. Go to tine 17.
                                 16b.   Are your debts primarily business debts? Eusness debts are debts that you incurred to obtain
                                        money for a business or ¡nvestment or through the operat¡on of the bus¡ness or ¡nvestment.
                                              No. Go lo line 16c.
                                        E     Yes. Go to line 17.

                                 16c. State the type of debts you owe that are not consumer debts or business debts.



tz. Are you filing     under     J
    Chapter 7?                   J4 No. I am not filing under Chapter 7. Go to line 18.
   Do you estimate that    after E     Yes. I am fìling under Chapter 7. Do you estimate that after any exempt property is excluded and
   any exempt property     is               administrative expenses are paid that funds will be available to dist;ibute tó unsecured creditors?
   excluded and                               fl   f.¡o
   admin istrative expenses
   are Paid that funds will be                LJ Yes
   available for distribution
   to unsecured creditors?
ta. How many creditors do        Ø r+s                                   E r,ooo-s,ooo
    you estimate that you
                                                                                                                       E    zs,oor-so,ooo
                                 rJ    50-99                             E s,oor-ro,ooo                                fl so,oor-roo,ooo
    owe?                         D roo-lss                               E ro,oor-zs,ooo                               El   More than 100,000
                                 E zoo-sss
tg. How much do you              D                                       E
    estimate your assets to
                                       $o-$so,ooo                            $t,ooo,oor-g1o milion                     E    $soo,ooo,oo1-$1 bilion
                                 E     $so,oor-groo,ooo                  Q   $r o,ooo,oot-$50 milion                   Q    $r,ooo,ooo,oo1-$1 o biuic
    be worth?
                                 F
                                 o
                                       $1   00,00r -$500,000             E
                                                                         0
                                                                             $so,ooo,ool-$1 oo milion                  E    $r o,ooo,ooo,oor -$so ¡irìln
                                       $500,001-$1 million                   $roo,ooo,oo1-$5oo milion                  E    More than $50 billion

zo. How much do you                                                      D $t,ooo,ool-$10 milion
   estimate your liabilitíes
                                 Æ     so-$so,ooo                                                                      D    $soo,ooo,ool-$1 biilion
                                 f,l   $so,oor-$loo,ooo                  D $to,ooo,oot-$so miilion                     E $r,ooo,ooo,oo1-g1o bilion
   to be?                        E     $roo,oor-$soo,ooo                 E $so,ooo,oor-$1oo milion                     E $ro,ooo,ooo,oo1-gso bilion
                                 E     $soo,oor-$t m¡l¡on                E $roo,ooo,oo1-$5oo milion                    E More than $50 b¡¡lion
EEñTÀ        Sign Below

                                 I have examined this petition, and I declare under penalty of perjury that the information provided is
F or   you                                                                                                                              true and
                                 correct.

                                 lf I have chosen lo fìle under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                 of title 11, United States Code. I understand the relief availabie under each c-hapter, and I chóose
                                                                                                                                      to proceed
                                 under Chapter 7.
                                 lf no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                                                                                                                          fill out
                                 this document, I have obtained and read the notice required 6y 11 U.S.C. 342(b).
                                                                                                                  S
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property
                                                                                                                              by fraud in connect¡on
                                 with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                 18 U.S.C     152, 1341, 151 and

                                 x                                                               ,c
                                       Signature of Debtor     1                                      Signature of Debtor 2

                                       Executed* þ lr.l (NlT                                          Executed on
                                                I\iIM / DD /YYYY                                                       MM   / DD   /YYYY

 Official Form   101                           Voluntary Petition for lndividuals Fillng for Bankruptcy                                      page 6
             Case 22-50249              Doc 1             Filed 06/14/22 Entered 06/14/22 11:41:32                                  Desc Main
                                                            Document     Page 8 of 11


Debtor   1
                                                                                                 Case number
                       Middle Name




                                     l, the attorney for the debto(s) named in this petition, declare that I have informed the debto(s) about
For your attorney, if you are                                                                                                                    etigibitity
                                     to proceed under Chapter 7 , 11 , 12, or 13 of title 1 I , United States Code, and have explained the relief
represented by one
                                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debto(s)
                                     the notice required by 11 U.S.C, S 342(b) and, in a case in which S 707(bX4XD) applies, certify that I have no
lf you are not represented           knowledge after an inquiry that the informat¡on in the schedules f¡led with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                     JC
                                                                                                          Date
                                          Signature of Attorney for Debtor                                               M[/I /     DD /YYYY



                                          Printed name



                                          Firm name



                                          Number Street




                                          City                                                           State           ZIP Code




                                          Contact phone                                                  Êmaii address




                                        Bar number                                                       State




Official Form   101                              Voluntary Pet¡tion for lndividuals Filing for Bankruptcy                                     page 7
             Case 22-50249        Doc 1               Filed 06/14/22 Entered 06/14/22 11:41:32                               Desc Main
                                                        Document     Page 9 of 11


Debtor   1
                                                                                          Case number
                                               Nâhe




For you if you are f¡ling this    The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an             should understand that many people find it extremely difficult to ràpresent
attorney                          themselves successfully. Because bankruptcy has long-term financial and legal
                                  consequences, you are strongly urged to hire a qualified attorney.
lfyou are represented by
an attorney, you do not           To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.           technical, and a mistake or inaction may affect your rights. For example, your case may be
                                  dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                  hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                  firm if your case is selected for audit. lf that happens, you could lose your ilgt"'t to fil" another
                                  case, or you may lose protectíons, including the benefit of the automatic stay.

                                  You must l¡st all your property and debts in the schedules that you are required to file with the
                                  court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                  in your schedules. lf you do not list a debt, the debt may not be discharged. lf you do not list
                                  property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                  also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                  case, such as destroying or hiding property, falsifying records, or lying. lndividual bankruptcy
                                  cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                  Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                  lf you decide to file without an attorney, the court expects you to follow the rules as if you had
                                  hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                  successful, you must be familiarwith the United States Bankruptcy Code, the Federal Rules of
                                  Bankruptcy Procedure, and the local rules of the court in which your case is filed. you must also
                                  be familiar w¡th any state exemption laws that apply.

                                  Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                  consequences?
                                  fl     ¡to
                                  dv.,
                                 Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                 inaccurate or incomplete, you could be fined or imprisoned?
                                  O      tto
                                 fl      v".
                                         you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy
                                 a.Did                                                                                               forms?
                                 N.ruo
                                  U      Yes. Name of Person
                                              Allach Bankruptcy Petition Preparer's Notice, Declarat¡on, and S¡gnature
                                                                                                                       lOffrciat fonn t t S¡



                                 By signing here, I acknowledge that I undérstand the risks involved in filing without an attorney.            I
                                 have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                 attorney may cause me to lose my rights or property if I do not properly handle the case.


                                                                                              ,c
                                   Signature of Oebtor    1
                                                                                                   Signature of Debtor 2


  C
                                 Date                 Ç       lq ooo?
                                                      IVIIVI/DD /YYYY
                                                                                                   Date
                                                                                                                    MIV/   DD /YYYY
                                 Contact phone                                                     Contacl phone

                                 Cell phone             (ruù       btov     6q*                    Cell phone

                                 Email address                                                     Email address



Official Form   101                        Voluntary Petition for lndividuals Filing for Bankruptcy                                   page 8
$.r*.-Case            Doc ft"'b;
       Þit\22-50249Bp6tt   1 Filed      0"ï^f Entered
                                 t¿ 06/14/22             tt-fç.1r
                                               0t..r-c-06/14/22 11:41:32 Desc Main
                                Document
                         Çttv".ts\At -
                  lþr^¡^oF                   plarÞ
                                             Page  10 of 11
                                                5I¡.** fu.*,*        l¡-\.)'r.*otQlo
Lwèrr.ie rbit\
                   $\\.-¿'Lr.n*'rc' A,-"- çt rtf t¿.1d r
                                                              t/+ r4>bi.>
C,*
            ãr.Y- fut
                      å h,ut<'                                      $a¿!ic^crrt
                             Ða'rtn    Wnt¡¡ri ,¡-\ \ þr-)"úâtqr
             $ø1;{*l h; [tr-                        (6^n .ug'.r'>. Stu/u, e ù^14+t/Y'
                hlò.u^J-     \tt¡ ,?   cv"+l4v+
                                                           St,,a I w.,¡J-to ¡l
                                                                                {t-tf
 lvr"tt
      ,\,\¿                                       *.)
  t\ru¿ trÌ ,^)¡ I
                   g<r, cÇ   ?olr' l¿**db ¿,*f.r[
  VtÅÉ "q üocqir"I
                         tqt




                                                                             c
        LUrtø   fn. h'!eq
                           'o'd
           Âtls Ô                                                      aY,                    d"l
                       g\¡'nt
                   .^aq'
4nu îfP -rl,znt-- ')ö             I                                         n         ^9ryÌ
                                                                                      u"u
      'es.þry,î                                         oLt(o          v^       llo           f"'l
                     T,o\þr\{-)
                     Document     Page 11 of 11                        ..,,nlt +çur\ hgg
        Desc Main   Tvtn 9,-rnflO\      \:Jh-T-õ
                    Filed 06/14/22 Entered 06/14/22 11:41:32
                                                                 I
                                                               Doc 1    Case 22-50249
                                                     -\l^ùA     .Mn rp ?trrg     ?tthgqþ."v
